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 2                                                                              FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON


 3
                                                                       Mar 19, 2020
 4
                                                                           SEAN F. MCAVOY, CLERK




 5                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                     NO: 2:20-CR-17-RMP-1
 8                               Plaintiff,
            v.                                       ORDER CONTINUING HEARINGS
 9
      CHRISTOPHER JAMES KISLING,
10
                                 Defendant.
11

12         In response to the evolving public health crisis caused by the outbreak of

13   Novel Coronavirus Disease (COVID-19), the Court finds it necessary and in the

14   interest of justice to take proactive measures to protect the safety of litigants, counsel,

15   court staff, grand jurors, petit jurors, witnesses, and the communities of this District.

16         The Court continues the pretrial conference and trial date in this matter

17   pursuant to this District’s General Order No. 20-101-4, and in light of the President’s

18   Proclamation declaring a national emergency on March 13, 2020, and the

19   Washington State Governor’s Proclamation 20-05 declaring a state of emergency on

20   February 29, 2020, and subsequent Proclamation 20-14 prohibiting all gatherings of

21   more than 50 people and requiring any gathering of fewer than 51 people to “comply



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 1   with social distancing and sanitation measures established by the United States

 2   Centers for Disease Control and Prevention or the Washington State Department of

 3   Health guidelines.” State of Washington Office of the Governor, Proclamation 20-

 4   14, Reduction of Statewide Limits on Gatherings (March 16, 2020). To promote

 5   state, national, and international efforts to inhibit transmission of the virus, the Court

 6   finds it necessary to continue the schedule in this matter.

 7         The Court is conscious of Defendant’s constitutional right to a speedy and

 8   public trial under the Sixth Amendment. Should Defendant object to the continuance

 9   of the trial and hearing dates pursuant to this Order, Defendant may move to be

10   excepted from the General Order and shall provide supporting reasons for the motion.

11        The time period from the current trial date of April 27, 2020, to the continued

12   trial date of June 15, 2020, is excluded under the Speedy Trial Act, 18 U.S.C. §

13   3161(h)(7)(A). The exigent need to protect public health during the current COVID-

14   19 outbreak by reducing the size and frequency of public gatherings and eliminating

15   nonessential travel outweighs the best interest of the public and the defendant in a

16   speedy trial.

17         Accordingly, IT IS HEREBY ORDERED:

18         1.    The current trial date of April 27, 2020, is STRICKEN and RESET to

19   June 15, 2020, at 8:45 a.m. commencing with a final pretrial conference at 8:30

20   a.m. All hearings shall take place in Spokane, Washington.

21         2.    The current pretrial conference date of April 15, 2020, is STRICKEN.



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 1         3.    A telephonic status conference is set for May 4, 2020, at 2:00 p.m. to

 2   determine whether the new trial date remains feasible; to set dates for any remaining

 3   hearings, including any pretrial conferences; and to set deadlines for motions, trial

 4   briefs, the pretrial exhibit stipulation, and other remaining pretrial matters. The

 5   parties shall call the Court’s conference line at 888.363.4749, and enter access code

 6   6699898#. Please listen and carefully follow the automated instructions so that you

 7   will be added to the conference in a timely manner. Speaker phones are not

 8   compatible with the Court’s audio system and may not be used for this hearing

 9           IT IS SO ORDERED. The District Court Clerk is directed to file this Order

10   and provide copies to counsel.

11         DATED March 19, 2020.

12
                                                   s/ Rosanna Malouf Peterson
13                                              ROSANNA MALOUF PETERSON
                                                   United States District Judge
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     ORDER CONTINUING HEARINGS ~ 3
